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  12
                            UNITED STATES DISTRICT COURT
  13                      SOUTHERN DISTRICT OF CALIFORNIA

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       Ms. L., et al.,                                     Case No. 18-cv-00428-DMS-MDD
  15
                             Petitioner-Plaintiff,
  16   v.
                                                           Date Filed: September 13, 2018
  17   U.S. Immigration and Customs Enforcement
       (“ICE”), et al.,
  18
                                                           PLAINTIFFS’ NOTICE OF
  19                       Respondents-Defendants.         MOTION AND MOTION TO
                                                           FILE RESTRICTED EXHIBITS
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   1         Plaintiffs respectfully request that the Court permit the filing of restricted
   2   exhibits.
   3         The exhibits, which are attached to Plaintiffs’ Brief Regarding Reunification
   4   of Two Parents, Dkt. No. 221, contain full names, alien numbers, and sensitive
   5   personal information about asylum seekers fleeing persecution in their home
   6   countries, as well as their very young children. Plaintiffs have publicly filed
   7   redacted versions of Exhibits 63-5 63-6, 63-7, and 64-1, which are identical to the
   8   sealed version with exception of the names and A Numbers. Plaintiffs are filing the
   9   entirety of Exhibits 63-1, 63-2, 63-3, and 63-4 under seal, because of the sensitivity
  10   of the entire documents. Plaintiffs are lodging with the Court under seal a full
  11   version of the entire set of exhibits.
  12
       Dated: September 13, 2018                  Respectfully Submitted,
  13
                                                  /s/Lee Gelernt
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